      Case 18-61801-sms        Doc 13 Filed 08/22/18 Entered 08/22/18 15:13:08              Desc 7-day
                                    fee deficiency ntc. Page 1 of 1
                                 UNITED STATES BANKRUPTCY COURT
                                      Northern District of Georgia
                                           Atlanta Division



In     Debtor(s)
Re:    Oscar Lee Ragland Jr.                           Case No.: 18−61801−sms
                                                       Chapter: 13



       NOTICE OF DEFICIENCY REGARDING UNPAID FILING FEES

        Notice is hereby given that the Debtor or Debtors (hereinafter "Debtor") is in default on the
        second filing fee installment in this case.
       Debtor is hereby notified to pay this installment fee within seven days of the entry of this
deficiency notice, that is by August 29, 2018 .
For payments by mail, remit using cashier's check, money order or attorney's check made payable to "Clerk,
United States Bankruptcy Court" to the address listed below:

                                       United States Bankruptcy Court
                                        1340 Richard Russell Building
                                          75 Ted Turner Drive, SW
                                             Atlanta, GA 30303

For payments made by hand delivery to a divisional office in Gainesville, Newnan or Rome, note that cash is
not accepted. You must remit using cashier's check, money order or attorney's check. The Atlanta divisional
office will accept these forms of payment as well as cash.


      If this filing fee installment is not paid on or before the above date, this case will be
dismissed for failure to pay said fee, without further notice or opportunity for hearing.
        A copy of this deficiency notice shall be served on Debtor, Debtor's Counsel and Trustee.

Dated: August 22, 2018 .




                                                                         M. Regina Thomas
                                                                         Clerk of Court
                                                                         U.S. Bankruptcy Court
Form 305 Modified June, 2015
